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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )               Case No. 8:10CR158
                       Plaintiff,             )
                                              )
       vs.                                    )
                                              )                    ORDER
JOSE FABIAN CORTEZ,                           )
                                              )
                       Defendant.             )


       This case is before the court on the defendant's Motion to Reconsider Detention
[186]. The motion is denied.
       Defendant elected to have a detention hearing in the District of Arizona on August
25, 2010. After reviewing the August 20, 2010 Pretrial Services report, I find the defendant
remains both a flight risk and a danger. This is especially true given the defendant's
substantial prior criminal record.
       IT IS ORDERED that defendant's Motion to Reconsider Detention [186] is denied
without hearing, as it presents no additional facts which would cause the court to change
its previous ruling.
       Dated this 29th day of November, 2010.

                                           BY THE COURT:


                                           S/ F. A. Gossett
                                           United States Magistrate Judge
